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 6

 7
                              UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9   ANDREW LEE, DDS, individually and on
10   behalf of all others similarly situated,
                                                            No.
11                                            Plaintiff,

12          v.                                              COMPLAINT—CLASS ACTION

13   SENTINEL INSURANCE COMPANY,                            JURY DEMAND
     LIMITED,
14
                                        Defendant.
15

16
                                         I.         INTRODUCTION
17
            Plaintiff, ANDREW LEE, DDS, (“Lee”), individually and on behalf of all other similarly
18
     situated members of the defined national class and Washington State sub-classes (the “Class
19
     Members”), by and through the undersigned attorneys, brings this class action against Defendant
20

21   Sentinel Insurance Company, Limited (“Sentinel or “Defendant”) and alleges as follows based

22   on personal knowledge and information and belief:

23                                II.    JURISDICTION AND VENUE
24          1.       This Court has subject matter jurisdiction pursuant to the Class Action Fairness
25
     Act of 2005, 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship
26
     from Defendant, there are 100 or more Class members nationwide, and the aggregate amount in
     COMPLAINT—CLASS ACTION - 1                                         K E L L E R R O H R B AC K    L.L.P.
                                                                            1201 Third A venue, Suite 3200
                                                                               Seattle, W A 98101-3052
                                                                            TELEPHONE: (206) 623-1900
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 1   controversy exceeds $5,000,000. The Court has supplemental jurisdiction over Plaintiff’s state
 2   law claims under 28 U.S.C. § 1367.
 3
            2.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(3) because the
 4
     Court has personal jurisdiction over Defendant, a substantial portion the alleged wrongdoing
 5
     occurred in this District and the state of Washington, and Defendant has sufficient contacts with
 6

 7   this District and the state of Washington.

 8          3.       Venue is proper in the Western District of Washington pursuant to 28 U.S.C.

 9   § 1391(b)(2) because a substantial part of the events or omissions giving rise to the claims at
10   issue in this Complaint arose in this District. Plaintiff’s business is located in Tacoma, Pierce
11
     County. This action is therefore appropriately filed in the Tacoma Division because a substantial
12
     portion of the events giving rise to this lawsuit arose in Pierce County.
13
                                              III.    PARTIES
14
            4.       Plaintiff, Andrew Lee, DDS, owns and operates a dental business located at 320
15

16   138th St., Tacoma, Washington 98444.

17          5.       Defendant Sentinel Insurance Company, Limited is an insurance carrier
18   incorporated and domiciled in Connecticut, with its principal place of business in Hartford
19
     Connecticut.
20
                                     IV.     NATURE OF THE CASE
21
            6.       Due to COVID-19 and a state-ordered mandated closure, Plaintiff cannot provide
22
     dental services. Plaintiff intended to rely on its business insurance to keep its business as a going
23

24   concern. This lawsuit is filed to ensure that Plaintiff and other similarly-situated policyholders

25   receive the insurance benefits to which they are entitled and for which they paid.
26

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 1           7.        Defendant Sentinel issued one or more insurance policies to Plaintiff, including
 2   Spectrum Business Owners Policy and related endorsements, insuring Plaintiff’s property and
 3
     business and other coverages, with effective dates of January 2, 2020 to January 2, 2021.
 4
             8.        Plaintiff’s business property includes property owned and/or leased by Plaintiff
 5
     and used for general business purposes for the specific purpose of dental and other business
 6

 7   activities.

 8           9.        Defendant Sentinel’s insurance policy issued to Plaintiff promises to pay Plaintiff

 9   for “direct physical loss of or physical damage to” covered property.
10           10.       Defendant Sentinel’s insurance policy issued to Plaintiff includes Business
11
     Income Coverage, Extra Expense Coverage, Extended Business Income Coverage and Civil
12
     Authority Coverage.
13
             11.       Plaintiff paid all premiums for the coverage when due.
14

15           12.       On or about January 2020, the United States of America saw its first cases of

16   persons infected by COVID-19, which has been designated a worldwide pandemic.

17           13.       In light of this pandemic, Washington Governor Jay Inslee issued certain
18
     proclamations and orders affecting many persons and businesses in Washington, whether
19
     infected with COVID-19 or not, requiring certain public health precautions. Among other things,
20
     Governor Inslee’s “Stay Home, Stay Healthy” order required the closure of all non-essential
21
     businesses, including Plaintiff’s business.
22

23           14.       By order of Governor Inslee, dentists including Plaintiff were prohibited from

24   practicing dental services but for urgent and emergency procedures.
25

26

     COMPLAINT—CLASS ACTION - 3                                           K E L L E R R O H R B AC K      L.L.P.
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 1          15.      Governor Inslee’s “PROCLAMATION BY THE GOVERNOR AMENDING
 2   PROCLAMATION 20-05: 20-24 Restrictions on Non Urgent Medical Procedures,” dated March
 3
     19, 2020, also provides, in part:
 4
            WHEREAS, the health care person protective equipment supply chain in
 5          Washington State has been severely disrupted by the significant increased use of
            such equipment worldwide, such that there are now critical shortages of this
 6          equipment for health care workers. To curtail the spread of the COVID-19
            pandemic in Washington State and to protect our health care workers as they
 7
            provide health care services, it is necessary to immediately prohibit all hospitals,
 8          ambulatory surgery centers, and dental orthodontic, and endodontic offices in
            Washington State from providing health care services, procedures and surgeries
 9          that require personal protective equipment, which if delayed, are not anticipated
            to cause harm to the patient within the next three months.
10
            16.      No COVID-19 virus has been detected on Plaintiff’s business premises.
11

12          17.      Plaintiff’s property has sustained direct physical loss and/or damage related to

13   COVID-19 and/or the proclamations and orders.
14          18.      Plaintiff’s property will continue to sustain direct physical loss or damage covered
15
     by the Sentinel policy or policies, including but not limited to business interruption, extra
16
     expense, interruption by civil authority, and other expenses.
17
            19.      Plaintiff’s property cannot be used for its intended purposes.
18
19          20.      As a result of the above, Plaintiff has experienced and will experience loss

20   covered by the Sentinel policy or policies.

21          21.      Upon information and belief, Sentinel has denied or will deny all similar claims
22   for coverage.
23
                                V.       CLASS ACTION ALLEGATIONS
24
            22.      This matter is brought by Plaintiff on behalf of itself and those similarly situated,
25
     under Federal Rules of Civil Procedure 23(b)(1), 23(b)(2), and 23(b)(3).
26

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 1         23.     The Classes that Plaintiff seeks to represent are defined as:
 2                 A.     Business Income Breach of Contract Class: All persons and entities in
 3
           the United States insured under a Sentinel policy with Business Income Coverage who
 4
           suffered a suspension of their business at the covered premises related to COVID-19
 5
           and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities
 6

 7         and whose Business Income claim has been denied by Sentinel.

 8                 B.     Business Income Coverage Breach of Contract Washington Subclass:

 9         All persons and entities in the State of Washington insured under a Sentinel policy with
10         Business Income Coverage who suffered a suspension of their business at the covered
11
           premises related to COVID-19 and/or orders issued by Governor Inslee, and/or other civil
12
           authorities and whose Business Income claim has been denied by Sentinel.
13
                   C.     Business Income Declaratory Relief Class: All persons and entities in the
14

15         United States insured under a Sentinel policy with Business Income Coverage who

16         suffered a suspension of their business at the covered premises related to COVID-19

17         and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities.
18
                   D.     Business Income Coverage Declaratory Relief Washington Subclass: All
19
           persons and entities in the State of Washington insured under a Sentinel policy with
20
           Business Income Coverage who suffered a suspension of their business at the covered
21
           premises related to COVID-19 and/or orders issued by Governor Inslee, and/or other civil
22

23         authorities.

24                 E.     Extended Business Income Breach of Contract Class: All persons and
25         entities in the United States insured under a Sentinel policy with Extended Business
26
           Income Coverage who suffered a suspension of their business at the covered premises

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 1         related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
 2         other civil authorities and whose Extended Business Income claim has been denied by
 3
           Sentinel.
 4
                   F.      Extended Business Income Breach of Contract Washington Subclass:
 5
           All persons and entities in the State of Washington insured under a Sentinel policy with
 6

 7         Extended Business Income coverage who suffered a suspension of their business at the

 8         covered premises related to COVID-19 and/or orders issued by Governor Inslee, and/or

 9         other civil authorities and whose Extended Business Income claim has been denied by
10         Sentinel.
11
                   G.      Extended Business Income Declaratory Relief Class: All persons and
12
           entities in the United States insured under a Sentinel policy with Extended Business
13
           Income Coverage who suffered a suspension of their business at the covered premises
14

15         related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or

16         other civil authorities.

17                 H.      Extended Business Income Declaratory Relief Washington Subclass: All
18
           persons and entities in the State of Washington insured under a Sentinel policy with
19
           Extended Business Income coverage who suffered a suspension of their business at the
20
           covered premises related to COVID-19 and/or orders issued by Governor Inslee, and/or
21
           other civil authorities.
22

23                 I.      Extra Expense Breach of Contract Class: All persons and entities in the

24         United States insured under a Sentinel policy with Extra Expense Coverage who sought
25         to minimize losses from the suspension of their business at the covered premises in
26
           connection with COVID-19 and/or orders issued by Governor Inslee, other Governors,

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 1         and/or other civil authorities and whose Extra Expense claim has been denied by
 2         Sentinel.
 3
                   J.      Extra Expense Breach of Contract Washington Subclass: All persons
 4
           and entities in the State of Washington insured under a Sentinel policy with Extra
 5
           Expense coverage who sought to minimize losses from the suspension of their business at
 6

 7         the covered premises in connection with COVID-19 and/or orders issued by Governor

 8         Inslee, and/or other civil authorities and whose Extra Expense claim has been denied by

 9         Sentinel.
10                 K.      Extra Expense Declaratory Relief Class: All persons and entities in the
11
           United States insured under a Sentinel policy with Extra Expense Coverage who sought
12
           to minimize losses from the suspension of their business at the covered premises in
13
           connection with COVID-19 and/or orders issued by Governor Inslee, other Governors,
14

15         and/or other civil authorities.

16                 L.      Extra Expense Declaratory Relief Washington Subclass: All persons and

17         entities in the State of Washington insured under a Sentinel policy with Extra Expense
18
           coverage who sought to minimize losses from the suspension of their business at the
19
           covered premises in connection with COVID-19 and/or orders issued by Governor Inslee,
20
           and/or other civil authorities.
21
                   M.      Civil Authority Breach of Contract Class: All persons and entities in the
22

23         United States insured under a Sentinel policy with Civil Authority Coverage who

24         suffered a suspension of their business and/or extra expense at the covered premises
25         related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
26
           other civil authorities and whose Civil Authority claim has been denied by Sentinel.

     COMPLAINT—CLASS ACTION - 7                                       K E L L E R R O H R B AC K    L.L.P.
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 1                  N.      Civil Authority Breach of Contract Washington Subclass: All persons
 2          and entities in the State of Washington insured under a Sentinel policy with Civil
 3
            Authority coverage who suffered a suspension of their business and/or extra expense at
 4
            the covered premises related to COVID-19 and/or orders issued by Governor Inslee,
 5
            and/or other civil authorities and whose Civil Authority claim has been denied by
 6

 7          Sentinel.

 8                  O.      Civil Authority Declaratory Relief Class: All persons and entities in the

 9          United States insured under a Sentinel policy with Civil Authority Coverage who
10          suffered a suspension of their business at the covered premises related to COVID-19
11
            and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities.
12
                    P.      Civil Authority Declaratory Relief Washington Subclass: All persons and
13
            entities in the State of Washington insured under a Sentinel policy with Civil Authority
14

15          coverage who suffered a suspension of their business at the covered premises related to

16          COVID-19 and/or orders issued by Governor Inslee, and/or other civil authorities.

17          24.     Excluded from the Classes are Defendant’s officers, directors, and employees; the
18
     judicial officers and associated court staff assigned to this case; and the immediate family
19
     members of such officers and staff. Plaintiff reserves the right to amend the Class definitions
20
     based on information obtained in discovery.
21
            25.     This action may properly be maintained on behalf of each proposed Class under
22

23   the criteria of Rule 23 of the Federal Rules of Civil Procedure.

24          26.     Numerosity: The members of the Class are so numerous that joinder of all
25   members would be impractical. Plaintiff is informed and believes that the proposed Class
26

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 1   contains thousands of members. The precise number of class members can be ascertained
 2   through discovery, which will include Defendant’s records of policyholders.
 3
            27.     Commonality and Predominance: Common questions of law and fact
 4
     predominate over any questions affecting only individual members of the Class. Common
 5
     questions include, but are not limited to, the following:
 6

 7                  A.      Whether the class members suffered covered losses based on common

 8          policies issued to members of the Class;

 9                  B.      Whether Sentinel acted in a manner common to the class and wrongfully
10          denied claims for coverage relating to COVID-19 and/or orders issued by Governor
11
            Inslee, other Governors, and/or other civil authorities;
12
                    C.      Whether Business Income Coverage in Sentinel’s policies of insurance
13
            applies to a suspension of business relating to COVID-19 and/or orders issued by
14

15          Governor Inslee, other Governors, and/or other civil authorities;

16                  D.      Whether Extended Business Income Coverage in Sentinel’s policies of

17          insurance applies to a suspension of business relating to COVID-19 and/or orders issued
18
            by Governor Inslee, other Governors, and/or other civil authorities;
19
                    E.      Whether Extra Expense Coverage in Sentinel’s policies of insurance
20
            applies to efforts to minimize a loss at the covered premises relating to COVID-19 and/or
21
            orders issued by Governor Inslee, other Governors, and/or other civil authorities;
22

23                  F.      Whether Civil Authority Coverage in Sentinel’s policies of insurance

24          applies to a suspension of business relating to COVID-19 and/or orders issued by
25          Governor Inslee, other Governors, and/or civil authorities;
26

     COMPLAINT—CLASS ACTION - 9                                           K E L L E R R O H R B AC K    L.L.P.
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 1                    G.      Whether Sentinel has breached its contracts of insurance through a blanket
 2            denial of all claims based on business interruption, income loss or closures related to
 3
              COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or other civil
 4
              authorities;
 5
                      H.      Whether, because of Defendant’s conduct, Plaintiff and the class members
 6

 7            have suffered damages; and if so, the appropriate amount thereof; and

 8                    I.      Whether, because of Defendant’s conduct, Plaintiff and the class members

 9            are entitled to equitable and declaratory relief, and if so, the nature of such relief.
10            28.     Typicality: Plaintiff’s claims are typical of the claims of the members of the
11
     classes. Plaintiff and all the members of the classes have been injured by the same wrongful
12
     practices of Defendant. Plaintiff’s claims arise from the same practices and course of conduct
13
     that give rise to the claims of the members of the Class and are based on the same legal theories.
14

15            29.     Adequacy: Plaintiff will fully and adequately assert and protect the interests of

16   the classes and has retained class counsel who are experienced and qualified in prosecuting class

17   actions. Neither Plaintiff nor its attorneys have any interests contrary to or in conflict with the
18
     Class.
19
              30.     Federal Rule of Civil Procedure 23(b)(1), the Risk of Inconsistent or Varying
20
     Adjudications and Impairment to Other Class Members’ Interests: Plaintiff seeks
21
     adjudication as to the interpretation, and resultant scope, of Defendant’s policies, which are
22

23   common to all members of the class. The prosecution of separate actions by individual members

24   of the classes would risk inconsistent or varying interpretations of those policy terms and create
25   inconsistent standards of conduct for Defendant. The policy interpretations sought by Plaintiff
26
     could also impair the ability of absent class members to protect their interests.

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 1            31.   Federal Rule of Civil Procedure 23(b)(2), Declaratory and Injunctive Relief:
 2   Defendant acted or refused to act on grounds generally applicable to Plaintiff and other members
 3
     of the proposed classes making injunctive relief and declaratory relief appropriate on a classwide
 4
     basis.
 5
              32.   Federal Rule of Civil Procedure 23(b)(3), Superiority: A class action is
 6

 7   superior to all other available methods of the fair and efficient adjudication of this lawsuit. While

 8   the aggregate damages sustained by the classes are likely to be in the millions of dollars, the

 9   individual damages incurred by each class member may be too small to warrant the expense of
10   individual suits. Individual litigation creates a risk of inconsistent and/or contradictory decisions
11
     and the court system would be unduly burdened by individual litigation of such cases. A class
12
     action would result in a unified adjudication, with the benefits of economies of scale and
13
     supervision by a single court.
14

15                                      VI.    CAUSES OF ACTION

16                                    Count One—Declaratory Judgment

17              (Brought on behalf of the Business Income Coverage Declaratory Relief Class,
        Business Income Coverage Declaratory Relief Washington Subclass, Extended Business
18    Income Declaratory Relief Class, Extended Business Income Declaratory Relief Washington
19        Subclass, Extra Expense Declaratory Relief Class, Extra Expense Declaratory Relief
           Washington Subclass, Civil Authority Declaratory Relief Class, and Civil Authority
20                            Declaratory Relief Washington Subclass)

21            33.   Previous paragraphs alleged are incorporated herein.

22            34.   This is a cause of action for declaratory judgment pursuant to the Declaratory
23
     Judgment Act, codified at 28 U.S.C. § 2201.
24
              35.   Plaintiff Lee brings this cause of action on behalf of the Business Income
25
     Coverage Declaratory Relief Class, Business Income Coverage Declaratory Relief Washington
26
     Subclass, Extended Business Income Declaratory Relief Class, Extended Business Income
     COMPLAINT—CLASS ACTION - 11                                          K E L L E R R O H R B AC K    L.L.P.
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 1   Declaratory Relief Washington Subclass, Extra Expense Declaratory Relief Class, Extra Expense
 2   Declaratory Relief Washington Subclass, Civil Authority Declaratory Relief Class, and Civil
 3
     Authority Declaratory Relief Washington Subclass.
 4
               36.    Plaintiff Lee seeks a declaratory judgment declaring that Plaintiff Lee and class
 5
     members’ losses and expenses resulting from the interruption of their business are covered by the
 6

 7   Policy.

 8             37.    Plaintiff Lee seeks a declaratory judgment declaring that Sentinel is responsible

 9   for timely and fully paying all such claims.
10                                    Count Two—Breach of Contract
11
                  (Brought on behalf of the Business Income Coverage Breach of Contract Class,
12                Business Income Coverage Breach of Contract Washington Subclass, Extended
                 Business Income Breach of Contract Class, Extended Business Income Breach of
13                Contract Washington Subclass, Extra Expense Breach of Contract Class, Extra
               Expense Breach of Contract Washington Subclass, Civil Authority Breach of Contract
14                     Class, and Civil Authority Breach of Contract Washington Subclass)
15
               38.    Previous paragraphs alleged are incorporated herein.
16
               39.    Plaintiff Lee brings this cause of action on behalf of the Business Income
17
     Coverage Breach of Contract Class, Business Income Coverage Breach of Contract Washington
18
19   Subclass, Extended Business Income Breach of Contract Class, Extended Business Income

20   Breach of Contract Washington Subclass, Extra Expense Breach of Contract Class, Extra

21   Expense Breach of Contract Washington Subclass, Civil Authority Breach of Contract Class and
22   Civil Authority Breach of Contract Washington Subclass.
23
               40.    The Policy is a contract under which Plaintiff Lee and the class paid premiums to
24
     Sentinel in exchange for Sentinel’s promise to pay plaintiff and the class for all claims covered
25
     by the Policy.
26

     COMPLAINT—CLASS ACTION - 12                                          K E L L E R R O H R B AC K    L.L.P.
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 1          41.     Plaintiff Lee has paid its insurance premiums.
 2          42.     Plaintiff Lee contacted his insurance agent in March to ask whether Sentinel
 3
     would provide coverage for his business interruption claim. Plaintiff was told that his claim
 4
     would not be covered.
 5
            43.     On information and belief, Sentinel intends to deny Lee’s claim, and Sentinel has
 6

 7   denied, and will continue to deny coverage for other similarly situated policyholders.

 8          44.     Denying coverage for the claim is a breach of the insurance contract.

 9          45.     Plaintiff Lee is harmed by the breach of the insurance contract by Sentinel.
10                                   VII.   PRAYER FOR RELIEF
11
            1.      A declaratory judgment that the policy or policies cover Plaintiff’s losses and
12
     expenses resulting from the interruption of the Plaintiff’s business related to COVID-19 and/or
13
     orders issued by Governor Inslee, other Governors, and/or other authorities.
14
            2.      A declaratory judgment that the defendant is responsible for timely and fully
15

16   paying all such losses.

17          3.      Damages.
18          4.      Pre- and post-judgment interest at the highest allowable rate.
19
            5.      Reasonable attorney fees and costs.
20
            6.      Such further and other relief as the Court shall deem appropriate.
21

22

23   //

24   //

25   //
26

     COMPLAINT—CLASS ACTION - 13                                        K E L L E R R O H R B AC K    L.L.P.
                                                                            1201 Third A venue, Suite 3200
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 1                                          VIII. JURY DEMAND
 2            Plaintiff demands a jury trial on all claims so triable.
 3             DATED this 4th day of May, 2020.
 4
      StandardSig                                      KELLER ROHRBACK L.L.P.
 5
                                                       By: s/ Amy Williams-Derry
 6                                                     By: s/ Lynn L. Sarko
                                                       By: s/ Ian S. Birk
 7                                                     By: s/ Gretchen Freeman Cappio
                                                       By: s/ Irene M. Hecht
 8
                                                       By: s/Maureen Falecki
 9                                                     By: s/Nathan L. Nanfelt
                                                           Amy Williams-Derry, WSBA #28711
10                                                         Lynn L. Sarko, WSBA #16569
                                                           Ian S. Birk, WSBA #31431
11                                                         Gretchen Freeman Cappio, WSBA #29576
12                                                         Irene M. Hecht, WSBA #11063
                                                           Maureen Falecki, WSBA #18569
13                                                         Nathan Nanfelt, WSBA #45273
                                                           1201 Third Avenue, Suite 3200
14                                                         Seattle, WA 98101
                                                           Telephone: (206) 623-1900
15                                                         Fax: (206) 623-3384
16                                                         Email: awilliams-derry@kellerrohrback.com
                                                           Email: lsarko@kellerrohrback.com
17                                                         Email: ibirk@kellerrohrback.com
                                                           Email: gcappio@kellerrohrback.com
18                                                         Email: ihecht@kellerrohrback.com
                                                           Email: mfalecki@kellerrohrback.com
19                                                         Email: nnanfelt@kellerrohrback.com
20

21                                                     By: s/ Alison Chase
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